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 7
 8                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                OAKLAND DIVISION
10
     JANE DOE,                                       )     Case No.: 3:24-cv-05344
11                                                   )
                                                           PLAINTIFF’S NOTICE OF
                                 Plaintiff,          )
12                                                         MOTION AND MOTION FOR
                                                     )
          vs.                                              LEAVE TO PROCEED UNDER
13                                                   )
                                                           PSEUDONYM
                                                     )
14 NIMARTA GREWAL, in her official and               )
   individual capacities; MARQUITA                   )     Hearing Date: TBD
15 GRENOT-SCHEYER, in her official                   )
   capacity,                                         )     Judge:             TBD
16                                                         Address:           TBD
                                                     )
17                            Defendants.                  Courtroom:         TBD
                                                     )
                                                     )
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                Plaintiff’s Notice of Motion and Motion for Leave to Proceed Under Pseudonym
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 1 TO ALL PARTIES:
 2         PLEASE TAKE NOTICE THAT Plaintiff Jane Doe will move for leave to
 3
     proceed under a pseudonym. The grounds for this Motion are the sensitive nature
 4
     of the complaint, the lack of prejudice from granting the Motion, and as further
 5
 6 set out below.
 7         Upon the Court’s assignment of a district judge to this matter, Plaintiff Doe
 8 will provide a second notice to all parties with the date, time, and location of the
 9
     hearing.1
10
11

12 DATED: September 5, 2024
13
                                                       /s/ Lindsay R. McKasson
14
                                                       Lindsay R. McKasson, CA Bar # 293144
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19                                                     Attorney For Plaintiff Jane Doe
20
21
22
23
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26
27
   1 Plaintiff filed her Declination to Proceed Before a U.S. Magistrate Judge on
28 August 27, 2024.

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19
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 1 Roe v. St. John's Univ.,
 2      No. 19-cv-4694, 2021 WL 1224895 (E.D.N.Y. Mar. 31, 2021) ................................... 5
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 4
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 1         This action arises from an undisputedly false accusation of sexual
 2 misconduct brought against Plaintiff Jane Doe (“Ms. Doe”) by her former student

 3
     at the Pleasanton Unified School District (“School District”). After Ms. Doe was
 4
     exonerated of horrendous and malicious false allegations of sexual harassment,
 5
 6 the School District, in conjunction with the California Commission on Teacher
 7 Credentialing (“CTC”), nevertheless violated her due process rights and
 8 wrongfully revoked her teaching credentials.
 9
           Accusations of sexual misconduct are fundamentally private matters and
10
     may improperly brand someone for life. Indeed, Ms. Doe is concerned about the
11
12 possibility of acts of reprisal against her should the allegations be publicized and
13 linked to her true name. Therefore, Ms. Doe seeks to proceed under the
14 pseudonym “Jane Doe” to protect her identity, so that she may vindicate her rights
15
     in this Court without inviting the very reputational harm she seeks to avoid.
16
17                                     BACKGROUND
18
           Plaintiff, Jane Doe, filed her Complaint on August 19, 2024. Ms. Doe was a
19
     public-school teacher at the School District. ECF No. 1 (“Compl.”) at ¶ 1.
20
21 Defendants are Nimarta Grewal, the Senior Director of Human Resources at the
22 School District, and Marquita Grenot-Scheyer, the Chair of the CTC. Id. at ¶¶ 2,
23 3. The action stems from a male student filing a false Title IX complaint against
24
     her, alleging she sexually harassed him. Id. at ¶ 33.
25
           The School District made no attempt to investigate the Title IX complaint.
26
27 Id. at ¶ 34. Then, on June 29, 2023, after Ms. Doe had retired as previously
28                                                -1-
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 1 planned due to her pursuing her doctorate to obtain future employment as a
 2 Doctor in Educational Leadership, Defendant Grewal sent a letter to Defendant

 3
     Grenot-Scheyer. Compl. at ¶¶ 35, 79. This letter falsely stated Ms. Doe “resigned
 4
     pending an allegation of misconduct,” when Ms. Doe had actually given notice of
 5
 6 her retirement several months earlier, while no allegations were pending. Id. at
 7 ¶ 35.
 8          After sending this letter, the School District still made no attempts to
 9
     investigate the complaint against Ms. Doe. Id. at ¶ 34. Accordingly, on September
10
     14, 2023, Ms. Doe, through counsel, sent the School District a letter demanding it
11
12 close the investigation, as it had exceeded the required 90-day deadline, and
13 rescind the false statements it made to the CTC. Id. at ¶¶ 40-44.
14          Instead of responding to Doe’s letter, the School District appointed external
15
     investigators and, on September 18, 2023, requested an interview with Ms. Doe.
16
     Id. at ¶¶ 45-47. The School District then informed Ms. Doe that they were not
17
18 investigating her for any Title IX violations but, instead, were following a different
19 process under Administrative Regulation 1312.1. Id. at ¶ 48. This was despite AR
20 1312.1 requiring a complainant to file a complaint within thirty days of the alleged
21
   incident, which did not happen. Id. at ¶¶ 50-51. Having no choice, Ms. Doe
22
   participated in the investigation, which lasted roughly three months. Id. at ¶ 62.
23
24 Finally, on January 10, 2024, Ms. Doe was exonerated, as the investigators found
25 her not responsible. Id. at ¶ 63.

26
27
28                                                 -2-
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 1         While not finding her responsible for sexual harassment, Defendant Grewal
 2 inserted a finding that Ms. Doe violated a vague “Professional Standards” policy,

 3
     Board Policy 4119.21. Compl. at ¶ 64. This was despite Ms. Doe never being
 4
     accused of such a violation and having zero notice or chance to respond. Id. at ¶
 5
 6 65.
 7         Over six months after being found not responsible, however, on July 28,
 8 2024, the CTC revoked Ms. Doe’s teaching credentials. Id. at ¶ 71. In doing so, the
 9
     CTC relied on the false statement that Defendant Grewal made and found,
10
     erroneously, that “[Ms. Doe] resigned from the District, pending allegations of
11
12 misconduct that she engaged in grooming behavior with an 8th grade student…”
13 Id. at ¶ 72. These were the same allegations that the School District found Ms.
14 Doe not responsible. Id. The revocation came without warning, as Ms. Doe had not
15
     received a single letter from the CTC regarding her credentials or the subject
16
     investigation. Ms. Doe only later found out, through counsel, that CTC had sent
17
18 notices regarding its investigation and Doe’s credentials to an incorrect address.
19 Id. at ¶ 75.
20         Ms. Doe immediately informed the CTC that it had sent all of the notices to
21
     an incorrect address and asked whether the CTC would grant her a new hearing.
22
     Id. at ¶ 76. Ms. Doe also informed the CTC that the School District had cleared
23
24 her of any sexual harassment allegations. Id. In response, however, the CTC told
25 Ms. Doe that it could not grant a new hearing or take any remedial action on Ms.

26
     Doe’s credentials until at least a year had passed. Id. at ¶ 77.
27
28                                                 -3-
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 1         Importantly, Ms. Doe’s current job requires her to have teaching credentials
 2 through the CTC. Id. at ¶ 78. As a result, her future employment as a Doctor in

 3
     Educational Leadership is in jeopardy. Id. at ¶ 79. Accordingly, Ms. Doe brought
 4
     this suit and now moves for leave to proceed under a pseudonym due to the
 5
 6 sensitive nature of the case and the underlying allegations.
 7
                                          ARGUMENT
 8
 9         While the Federal Rules of Civil Procedure require that the complaint

10 “include the names of all the parties,” and that an action be prosecuted “in the
11 name of the real party in interest,” the decision whether to allow a plaintiff to
12
     proceed anonymously is within the discretion of the trial court. Fed. R. Civ. P.
13
     10(a); Jane Roes 1–2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990, 993 (N.D. Cal.
14
15 2015). In the Ninth Circuit, “a party may preserve his or her anonymity in judicial
16 proceedings in special circumstances when the party's need for anonymity
17 outweighs prejudice to the opposing party and the public's interest in knowing the
18
     party’s identity.” SFBSC Mgmt., LLC, 77 F. Supp. 3d at 993 (quoting Does I thru
19
     XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000)). In assessing
20
21 whether a party may proceed pseudonymously, the Ninth Circuit employs a non-
22 exhaustive five-part test. Doe v. Kamehameha Schools/Bernice Pauahi Bishop
23 Estate, 596 F.3d 1036, 1042 (9th Cir. 2010). The factors to be considered are: “(1)
24
     the severity of the threatened harm, (2) the reasonableness of the anonymous
25
     party's fears, ... (3) the anonymous party's vulnerability to such retaliation, (4) the
26
27 prejudice to the opposing party, and (5) the public interest.” Id. (citations omitted).
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 1           Further, this Court has found that cases of a sexual nature generally
 2 warrant pseudonym protection. SFBSC Mgmt., LLC, 77 F. Supp. 3d at 994

 3
     (collecting cases). In similar cases in other courts where a plaintiff has been
 4
     accused of sexual harassment, and later sued to vindicate themselves, courts
 5
 6 frequently grant motions to proceed under a pseudonym. Considering the
                                                         1


 7 treatment of sexual misconduct cases in courts across the nation, as delineated
 8 above, and an application of the Ninth Circuit’s balancing test below, Ms. Doe
 9
     should be granted leave to proceed pseudonymously.
10
        I.      The Severity of Threatened Harm Warrants Pseudonymity.
11
12           As this this Court has noted, preserving privacy “in a matter of sensitive

13 and highly personal nature” is one of three reasons this Court generally grants
14 leave to proceed under a pseudonym. SFBSC Mgmt., LLC, 77 F. Supp. 3d at 993
15
     (quoting Advanced Textile Corp., 214 F.3d at 1068). Pseudonymity is also
16
     appropriate is “when identification creates a risk of retaliatory physical or mental
17
18 harm.” Id. (quoting Advanced Textile Corp., 214 F.3d at 1068). Generally,
19 pseudonyms are allowed to “protect a person from ... ridicule or personal
20 embarrassment.” Id. (quoting Advanced Textile Corp., 214 F.3d at 1067-68). And
21
   “[t]he most compelling situations involve matters which are highly sensitive, such
22
23
24
25   1 See Doe v. The Rector and Visitors of George Mason Univ., 179 F. Supp. 3d 583 (E.D.

   Va. 2016); Doe v. Virginia Polytechnic Ints. and State Univ., No. 7:19-cv-00249, 2020
26 WL 1287960 (W.D. Va. Mar. 18, 2020); Doe v. Purdue Univ., No. 4:19-cv-56, 2019 WL
27 3887165 (N.D. Ind. Aug. 19, 2019); Roe v. St. John's Univ., No. 19-cv-4694, 2021 WL
   1224895 (E.D.N.Y. Mar. 31, 2021).
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 1 as social stigmatization.” SFBSC Mgmt., LLC, 77 F. Supp. 3d at 993 (quoting Doe
 2 v. Rostker, 89 F.R.D. 158, 162 (N.D. Cal. 1981)).

 3
           Here, the underlying facts relate to alleged sexual harassment, for which
 4
     Ms. Doe was exonerated. Despite this exoneration, Ms. Doe has faced
 5
 6 immeasurable harm by way of the suspension of her teaching credentials,
 7 resulting in lost job opportunities. This matter is plainly sensitive and of a highly
 8 personal nature, making pseudonymity proper. Moreover, disclosure of Ms. Doe’s
 9
     identity could result in both physical and mental harm. Absent anonymity, Ms.
10
     Doe will suffer ridicule, embarrassment, and social stigmatization. Thus, Ms. Doe
11
12 seeks to minimize any additional harm from Defendants’ wrongful conduct.
13 Indeed, requiring Ms. Doe to proceed under her real name would cause the
14 continued harm she seeks to avoid. If her name is public, then she cannot be made
15
     whole because this sensitive and prejudicial information will be published in the
16
     public arena. The damage will have been done. Similar concerns were sufficient
17
18 for granting leave to proceed under a pseudonym in SFBSC Management, LLC,
19 77 F. Supp. 3d at 994;2 see also Doe v. Lloyd, No. 5:21-cv-00096, 2022 WL
20 19766613, at *4 (C.D. Cal. Feb. 14, 2022) (holding that potential economic harm
21
   may be sufficient for finding in favor of allowing a pseudonym when the matter is
22
   of a “sensitive and highly personal nature.”), citing Doe v. U.S. Healthworks Inc.,
23
24
25   2 In SFBSC Management, LLC, the plaintiffs were former exotic dancers seeking

   pseudonymity in a case involving lost wages. 77 F. Supp. 3d at 992-93. Given the
26 sexual nature of the case, the Court granted the plaintiffs leave to proceed under a
27 pseudonym to avoid the social stigmatization that would follow from being involved
   in such a career. Id. at 993.
28                                           -6-
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 1 No. 15-cv-05689, 2016 WL 11745513, at *5 (C.D. Cal. Feb. 4, 2016). Thus, the first
 2 factor weighs heavily in favor of anonymity.

 3
        II.      Ms. Doe’s Concerns are Reasonable.
 4
              The second factor looks not at whether the plaintiff’s feared harm will
 5
 6 actually occur and instead looks to whether the fear is reasonable. Advanced
 7 Textile Corp., 214 F.3d at 1070. Concerns of “personal embarrassment and further
 8 emotional injury” can be sufficient. M.J.R. v. United States, No. 23-cv-05821, 2023
 9
     WL 7563746, at *2 (N.D. Cal. Nov. 14, 2023). Risks of social stigmatization are
10
     likewise a reasonable fear. Roe v. United States, No. 1:19-cv-00270, 2020 WL
11
12 869153, at *2 (E.D. Cal. Feb. 20, 2020). Here, as described above, Ms. Doe has
13 reasonable fears stemming from a highly sensitive and personal matter, the
14 disclosure of which would result in emotional injury, embarrassment, and social
15
     stigmatization.
16
              Ms. Doe also has reasonable fears relating to potential economic harm she
17
18 could face should her name become synonymous with the underlying sexual
19 harassment allegations as it would be certain to impact her future employment
20 prospects. Accordingly, the second factor is satisfied.
21
      III. The Identification of Ms. Doe Poses Potential Retaliatory Harm.
22
          While framed as a factor that “specifically addresses career retaliation by
23
24 an employer defendant, its terms and concerns usefully frame the general
25 question of whether a plaintiff seeking anonymity faces any harm.” SFBSC

26
     Mgmt., LLC, 77 F. Supp. 3d at 995 (emphasis added). Here, should Ms. Doe be
27
28                                                   -7-
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 1 required to disclose her true name, she could be targeted based solely on the false
 2 accusation that she committed sexual misconduct. Ms. Doe should not be punished

 3
     by having her name in the public simply because she seeks to restore her
 4
     professional career after the baseless accusations raised against her for which she
 5
 6 was found not responsible. Under the current social climate, there is no doubt that
 7 accusations of sexual misconduct are sufficient to tarnish a reputation. It matters
 8 not that Ms. Doe was not convicted of a crime or exonerated at the school level,
 9
     the damage will be done. Having to live with this public reputation would be
10
     detrimental to Ms. Doe’s mental health and career. This factor weighs in favor of
11
12 anonymity.
13      IV.     There Is No Risk of Unfairness to Defendants.
14            Allowing Ms. Doe to proceed under a pseudonym will not inhibit the
15 Defendants from defending themselves against her allegations. Defendants are
16
     aware of Ms. Doe’s identity. Where a defendant has knowledge of the identity of
17
     the plaintiff, this lessens the risks of prejudice. Advanced Textile, 214 F.3d at 1069
18
19 n. 11. Likewise, in SFBSC Mgmt., LLC, this Court found that where the defendant
20 knew the identity of the plaintiff, this minimized any risks concerning res judicata
21 and discovery. 77 F. Supp. 3d at 995-96. Even if defendants did not know the
22
   identity in the initial phases, there are options, such as a protective order, to
23
   disclose her identity. Id. Therefore, permitting Ms. Doe to remain anonymous will
24
25 not result in any prejudice to Defendants. This factor also weighs in

26 pseudonymity.
27
28                                                  -8-
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 1      V.      There is no Public Interest in Ms. Doe’s Identity.
 2           Finally, when analyzing this factor, the “crucial thing” is that “[t]he basic
 3 facts of the plaintiffs’ employment and the defendants' challenged conduct, the
 4
     court's reasoning, and the resulting interplay of those things—which is to say, in
 5
     a word, the law that runs through and results from this case—will be open to the
 6
 7 public” SFBSC Mgmt., LLC, 77 F. Supp. 3d at 996. This is especially true when
 8 the defendants and the court cannot point to any reason for why “disguising
 9 plaintiffs’ identities will obstruct the public scrutiny of the important issues in
10
     [the] case.” Id. (quoting Advanced Textile, 214 F.3d at 1072). The same rings true
11
     here. There is no public interest in learning Ms. Doe’s identity; it is sufficient that
12
13 the underlying facts and legal claims are public.
14           Further, the public “has an interest in seeing this case decided on the
15 merits.” Advanced Textile, 214 F.3d at 1073. “[F]ear of employer reprisals will
16
     frequently chill employees' willingness to challenge employers’ violations of their
17
     rights.” Id. (citing Mitchell v. Robert De Mario Jewelry, Inc., 361 U.S. 288, 292
18
19 (1960)). “Thus, permitting plaintiffs to use pseudonyms will serve the public's
20 interest in this lawsuit by enabling it to go forward.” Id. Here, there is a public
21 interest in state activity, including activity that violates constitutional principles.
22
   That interest is advanced not only by this litigation proceeding, but also by
23
   protecting the identity of Ms. Doe so that future aggrieved parties, such as Ms.
24
25 Doe, will feel confident coming forward to vindicate their rights. Accordingly, this

26 final factor also favors proceeding under a pseudonym.
27
28                                                  -9-
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 1                                      CONCLUSION
 2         The Court should allow Ms. Doe to proceed under a pseudonym because of
 3
     the private nature of the issues before the Court, and the risks to Ms. Doe’s mental
 4
     health. There is no unfairness to Defendants as the identity of Ms. Doe is known
 5
 6 to them, nor does the public have a legitimate interest in her identity. Therefore,
 7 Ms. Doe requests she be allowed to proceed under a pseudonym for the duration
 8 of this litigation.
 9
10
     DATED: September 5, 2024
11
12
                                                     /s/ Lindsay R. McKasson
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                                                     BINNALL LAW GROUP, PLLC
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18                                                   Attorney For Plaintiff Jane Doe

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